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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         DISCOVERY ORDER

   Eilmes v. Monsanto,                               Re: Dkt. Nos. 18667, 18675
   Case No. 19-cv-05345-VC

   Haase v. Monsanto,
   Case No. 19-cv-05957-VC

   Hayden v. Monsanto,
   Case No. 19-cv-05600-VC

   Huntley v. Monsanto,
   Case No. 19-cv-06407-VC


       If the parties still disagree about how long Dr. Knopf’s deposition should be, they must

brief the dispute in a joint statement, of not more than five pages, to be filed by July 25, 2024. If

the parties have resolved their dispute, they must notify the Court by the same date.

        IT IS SO ORDERED.

Dated: July 17, 2024
                                               ___________________________________
                                               ALEX G. TSE
                                               United States Magistrate Judge
